     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 1 of 23 Page ID #:3847



 1   EILEEN M. DECKER
     United States Attorney
 2   ROBERT E. DUGDALE
     Assistant United States Attorney
 3   Chief, Criminal Division
     ELLYN MARCUS LINDSAY (Cal. Bar No. 116847)
 4   Assistant United States Attorney
     Major Frauds Section
 5        1100 United States Courthouse
          312 North Spring Street
 6        Los Angeles, California 90012
          Telephone: (213) 894-2041
 7        Facsimile: (213) 894-6269
          E-mail:     ellyn.lindsay@usdoj.gov
 8
     Attorneys for Plaintiff
 9   UNITED STATES OF AMERICA

10                            UNITED STATES DISTRICT COURT

11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                 No. CR 07-1402-SJO

13               Plaintiff,                    GOVERNMENT’S POSITION RE:
                                               SENTENCING FACTORS AND RESPONSE TO
14                    v.                       DEFENDANT’S SENTENCING MEMO

15   APRIL FRANCIS MUIR,
                                               Date: July 27, 2015
16               Defendant.                    Time: 9:00 a.m.
                                               Place: Courtroom of the
17                                                    Honorable S. James Otero

18

19         Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney’s Office for the Central
21   District of California, hereby submits its Position Re: Sentencing
22   Factors and Response to Defendant’s Sentencing Memo.            This filing is
23   based on the attached Memorandum of Points and Authorities and
24   exhibits, the files and records in this case, and any further
25   //
26   //
27   //
28   //
     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 2 of 23 Page ID #:3848



 1   evidence and argument as may be presented at the sentencing hearing.

 2    Dated: July 13, 2015                 Respectfully submitted,

 3                                         EILEEN M. DECKER
                                           United States Attorney
 4
                                           ROBERT E. DUGDALE
 5                                         Assistant United States Attorney
                                           Chief, Criminal Division
 6

 7                                          /s/ Ellyn Marcus Lindsay
                                           ELLYN MARCUS LINDSAY
 8                                         Assistant United States Attorney

 9                                         Attorneys for Plaintiff
                                           UNITED STATES OF AMERICA
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                              2
     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 3 of 23 Page ID #:3849



 1                                  TABLE OF CONTENTS
 2                                                                                PAGE
 3   TABLE OF AUTHORITIES...............................................ii

 4   I.    INTRODUCTION...................................................1 

 5   II.  FACTS..........................................................1 

 6   III.  DEFENDANT’S GUIDELINES ARGUMENTS...............................2 

 7         A.    LENGTH OF PARTICIPATION...................................2 

 8         B.    ROLE IN THE OFFENSE.......................................5 

 9   IV.  SENTENCING FACTORS.............................................6 

10         A.    “(1) the nature and circumstances of the offense and
                 the history and characteristics of the defendant.”........7 
11
           B.    “(2) the need for the sentence imposed...................17 
12
                 1.    “(A) to reflect the seriousness of the offense,
13                     to promote respect for the law, and to provide
                       just punishment for the offense.”...................17 
14
                 2.    “(B) to afford adequate deterrence to criminal
15                     conduct.”...........................................17 

16               3.    “(C) to protect the public from further crimes of
                       the defendant.”.....................................17 
17
                 4.    “(6) the need to avoid unwarranted sentence
18                     disparities among defendants with similar records
                       who have been found guilty of similar conduct.”.....18 
19
                 5.    “(7) the need to provide restitution to any
20                     victims of the offense.”............................19 

21   V.    CONCLUSION....................................................19 

22

23

24

25

26

27

28
     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 4 of 23 Page ID #:3850



 1                                TABLE OF AUTHORITIES
 2    FEDERAL CASES:                                                              PAGE
 3   United States v. Becerril-Lopez,
 4            541 F.3d 881 (9th Cir. 2008) ............................... 18

 5

 6   United States v. Green,
 7            592 F.3d 1057 (9th Cir. 2010) .............................. 18

 8

 9   FEDERAL STATUTES:
10   18 U.S.C. § 371..................................................... 1

11

12   18 U.S.C. § 3553(a)............................................. 6, 19

13

14   SENTENCING GUIDELINES:
15   U.S.S.G. §2B1.1.................................................... 16

16

17   U.S.S.G. §3B1.2..................................................... 5

18

19   U.S.S.G. §3B1.2(b).................................................. 5

20

21

22

23

24

25

26

27

28

                                             ii
     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 5 of 23 Page ID #:3851



 1                        GOVERNMENT’S SENTENCING MEMORANDUM
 2   I.    INTRODUCTION
 3         The government concurs with the findings and position of the

 4   probation officer as set forth in the presentence report.             The

 5   government believes that a low-end sentence of 60 months is

 6   appropriate.

 7   II.   FACTS
 8         Defendant pled guilty to one count of conspiracy, in violation

 9   of Title 18, United States Code, Section 371.           Defendant’s conviction

10   is based on her participation in a fraudulent telemarketing operation

11   based in Montreal, Quebec, Canada, that targeted elderly victims in

12   both Canada and the United States.         In the plea agreement, defendant

13   agreed to the following statement of facts:

14              Beginning as early as 2004, and continuing through
           December 2006, several individuals engaged in a conspiracy
15         to commit mail and wire fraud. Defendant knowingly joined
           this conspiracy intending to accomplish its objects. The
16         conspiracy operated as follows: working in a location in
           Montreal, Quebec, Canada, telemarketers committed fraud
17         against victims in Canada and the United States, including
           victims located in the Central District of California. At
18         a date currently contested by the parties, but no later
           than November 2006, defendant joined this conspiracy as a
19         telemarketer. Defendant’s co-conspirator obtained “leads,”
           that is, names and contact information of potential victims
20         in the United States and Canada. Working from the leads,
           defendant and other telemarketers contacted victims by
21         telephone and mail and falsely informed them that they had
           won a large sum of money in a sweepstakes or lottery. As
22         defendant then knew, this representation was false and
           fraudulent, as there was no sweepstakes or lottery, and the
23         victim called had not won any sum of money from defendant
           or anyone with whom she was associated.
24
                Defendant and other telemarketers falsely told the
25         victims that, in order to collect their “winnings,” the
           victims had to pay a sum of money, which the telemarketers
26         falsely represented was for taxes, administrative fees,
           insurance, legal fees, and other expenses that purportedly
27         had to be paid before the “winnings” could be sent to the
           victims. As defendant then knew, these representations
28         were false and fraudulent, as there were no winnings to be
     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 6 of 23 Page ID #:3852



 1         sent and the victims had no reason to send money to
           defendant or anyone with whom she was associated.
 2
                Defendant and other telemakreters instructed the
 3         victims to send the money for the purported expenses and
           fees required for release of their winnings in a variety of
 4         ways: (i) By wire transfer via Western Union or MoneyGram,
           either in a name of the victim’s choosing, or in a name
 5         supplied by the telemarketers; (ii) by mail or by
           commercial carrier, such as Federal Express, to an address
 6         supplied by the telemarketers; and (iii) by wire transfer
           from the victim’s bank account into a bank account
 7         controlled by a co-conspirator. Defendant would receive a
           percentage of the money she obtained from victims she
 8         called.

 9              In furtherance of the conspiracy and to accomplish the
           objects of the conspiracy, on November 16, 2006, defendant
10         had a conversation with co-defendant John Bellini regarding
           working with certain other co-defendants.
11

12   III. DEFENDANT’S GUIDELINES ARGUMENTS
13         Defendant asserts that the guidelines were improperly calculated

14   in two areas: 1) loss, in that she only became involved in the crime

15   in the last month; and 2) that she had a minor role in the offense.

16   The government hereby responds to these arguments.

17         A.    LENGTH OF PARTICIPATION
18         Defendant asserts, with no declaration, sworn or not, and no

19   actual evidence, that she only joined the Bellini organization at the

20   tail end of the fraud.       However, the evidence is to the contrary.

21   Both Bellini and coconspirator Alexander Andriopoulos place defendant

22   as a telemarketer even before she joined Bellini.           The evidence is

23   set forth in the summary and memorandum of interview of Bellini,

24   attached hereto as Exhibit 1, and in the summary of the statement of

25   Andriopoulos, attached here as Exhibit 2.

26         Andriopoulos stated that in 2001, he put together a “small crew”

27   to do lottery pitch telemarketing (“it was much easier to sell an

28   American for more money than a Canadian . . . people over sixty five

                                              2
     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 7 of 23 Page ID #:3853



 1   (65) were lonely and they couldn’t say no to you”).            (Exhibit 2,

 2   bates pages (“bp”) 708-09.)        This crew included defendant.       (Exhibit

 3   2, bp 709.)      They worked out of defendant’s home.       (Exhibit 2, bp

 4   718-19.)

 5           Bellini also noted that in 2003, when he was “a burnt out

 6   druggie,” defendant and others were working for Andriopoulos.

 7   (Exhibit 1, bp 548.)      Then they asked Bellini if they could come work

 8   for him, and they did so, making about 10 deals per month.             (Exhibit

 9   1, bp 556.) At one point, defendant asked Bellini to use her

10   boyfriend, Danny, as a runner to receive transactions from Western

11   Union and MoneyGram.      Bellini allowed Danny to do this work until he

12   found out that Danny was failing to give Bellini the money he picked

13   up.   (Exhibit 1, bp 550.)      For a while, defendant and Arlene Grundy

14   worked in the grants and loans room,1 but they were not making enough

15   money, so they went back to the lottery scam.           (Exhibit 1, bp 556,

16   565-66.)      Bellini did not trust defendant because she “always cheated

17   him.”       (Exhibit 1, bp 557.)   The telemarketers often worked out of

18   defendant’s home.      (Exhibit 1, bp 557.)

19           Defendant asserts that the separate statements of two

20   cooperating codefendants should be entirely disregarded because these

21   codefendants were just trying to make a deal with the government.

22   However, when each codefendant made his statement, there was no focus

23   on defendant whatsoever -- rather, each codefendant was asked about

24           1
            The “grants and loans” scam is similar to the lottery scam:
25   victims are promised that, for an advance fee, they will receive a
     loan or government grant. As Bellini stated, “the grants were
26   illegal . . . With the grants they were basically telling [the
     victims] it wasn’t a guarantee they were gonna get the loan but in a
27   scummy way they were. In reality, all [the victims] were getting was
     an application for the grant, they never got the $7,000 grant.”
28   (Exhibit 1, bp 547.)

                                              3
     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 8 of 23 Page ID #:3854



 1   numerous participants in the crime.          If these cooperating

 2   codefendants were going to lie about defendant, there is no reason

 3   why they would not have also lied about all the other participants.

 4   As it is, the only two charged defendants Andriopoulos names as

 5   working for him in 2001 are defendant and Arlene Grundy (Exhibit 2,

 6   bp 709) -- if he were truly attempting to earn favors from the

 7   government by lying, he certainly would have named more of the

 8   charged defendants.      The same is true of Bellini -- the only people

 9   he named as working for Andriopoulos were Mark Dash, defendant,

10   Grundy, and some others who were not charged.           (Exhibit 1, bp 548.)

11   Moreover, Bellini’s statement that defendant and Grundy worked out of

12   defendant’s home (Exhibit 1, bp 557) was corroborated by the leads,

13   phones, scripts, and other items found by the RCMP when they searched

14   the premises.     (Defendant’s Exhibit, p. 5.)

15         Defendant cites to a summary report regarding defendant prepared

16   by the RCMP.     The report states that defendant came to the attention

17   of the RCMP in 2006 when her name was heard on the intercepted

18   telephone calls.     The report also summarizes intercepted calls in

19   which defendant is one of the speaking parties.           Defendant takes this

20   summary and claims that this is the extent of her involvement in the

21   crime.    (Defendant’s position, p. 3.)       This is incorrect: the report

22   is what it claims to be, a summary.          Moreover, it does not state that

23   defendant started her involvement in the crime in 2006, but rather

24   that she came to the attention of the RCMP, which is when they began

25   their investigation.      Meanwhile, only indication by defendant that

26   she only began the offense in the last month is her counsel’s

27   unsupported statement.       Without a sworn declaration or anything else

28   to the contrary, this Court should give the assertion no weight.

                                              4
     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 9 of 23 Page ID #:3855



 1         B.    ROLE IN THE OFFENSE
 2         Defendant claims that she should receive a reduction in her

 3   offense level pursuant to USSG § 3B1.2(b) because she had a minor, or

 4   even minimal, role.      The probation officer declined to apply this

 5   reduction for the following reasons:

 6         Based on the information provided to the Probation Officer,
           Muir served as a telemarketer for the entire time of the
 7         scheme. According to statements from co-defendants, Muir
           joined the conspiracy from the beginning and initially
 8         worked for Andriopoulos and later Bellini. During that
           time, she used “lead” lists provided by co-defendants to
 9         fraudulently solicit funds from victims under the ruse of a
           lottery. Muir’s role was instrumental in accomplishing the
10         goals of the conspiracy and the amount of loss she caused
           to her victims. Based on this information, she cannot be
11         considered substantially less culpable than her co-
           participants and no role reduction is applied.
12

13   (PSR ¶ 36.)

14         The application notes to section 3B1.2 instruct that this

15   reduction should be applied to individuals who are “less culpable

16   than most other participants, but whose role could not be described

17   as minimal.”     (App. Note 5.)     As an example for a fraud scheme:

18         [A] defendant who is accountable under § 1B1.3 for a loss
           amount under §2B1.1 . . . that greatly exceeds the
19         defendant’s personal gain from a fraud offense and who had
           limited knowledge of the scope of the scheme is not
20         precluded from consideration for an adjustment under this
           guideline. For example, a defendant in a health care fraud
21         scheme, whose role in the scheme was limited to serving as
           a nominee owner and who received little personal gain
22         relative to the loss amount, is not precluded from
           consideration for an adjustment under this guideline.
23

24   (App. Note 3(A).)

25         Defendant played a key role during her time in the lottery scam

26   -- she was one of the telemarketers who personally lied to victims

27   and took their money.      Moreover, unlike the nominee owner in the

28   application note example, defendant was well aware of the scope of

                                              5
     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 10 of 23 Page ID #:3856



 1    the scheme, as she worked with various different telemarketers,

 2    sometimes out of her home.       (See Summary Report, pp. 2-5, indicating

 3    defendant’s clear familiarity with the scam and the fact that she is

 4    working out of her own home with Chryssanthopoulos, Mensah, Mosher,

 5    Goodheart, Jim Farmer, and Magi.)        Moreover, defendant’s

 6    participation was hardly limited -- she was involved for

 7    approximately five years in lottery scam telemarketing before she was

 8    arrested.    Thus, as the probation officer concluded, a minor role

 9    adjustment is not appropriate.

10          Defendant refers this Court to the 2015 guidelines amendments.

11    However, the changes to the role reduction application notes have

12    little effect on this case.       The key question is still whether the

13    defendant “is substantially less culpable than the average

14    participant in the criminal activity.”         2015 Application Note 3(C).

15    The average participants in the criminal activity in this case are

16    the telemarketers and the MoneyGram/Western Union owners.            They were

17    the cogs in the wheel.      A minor or minimal participant would be one

18    of the runners used to pick up the money from Western Union or

19    MoneyGram, or perhaps someone who allowed his or her bank account to

20    be used for a wire transfer in exchange for a cut of the money.             But

21    defendant’s ongoing activity directly stealing money from the elderly

22    should not qualify her as a minor participant.

23    IV.   SENTENCING FACTORS
24          The government believes that an evaluation of the factors set

25    forth in 18 U.S.C. § 3553(a) demonstrates why a sentence at the low

26    end of the range of 60 months is appropriate.

27

28

                                              6
     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 11 of 23 Page ID #:3857



 1          A.    “(1) the nature and circumstances of the offense and the
                  history and characteristics of the defendant.”
 2

 3          This case involves an egregious fraud that targeted the elderly

 4    and infirm.    As a telemarketer, defendant personally cheated these

 5    victims out of money they could hardly afford to lose.            The

 6    callousness and disregard of basic human decency make this a very,

 7    very serious crime.

 8          Given that this Court has varied below the guidelines in

 9    virtually every defendant’s case, the government has made an attempt

10    once again to bring the victims of this crime back into the courtroom

11    by seeking victim impact statements.        Although many of the victims

12    are now dead, the government has obtained some statements, redacted

13    copies of which are attached to this pleading as Exhibit 3.             The

14    government requests that, unlike other submissions of the government

15    regarding the seriousness of this crime and the application of

16    guidelines factors, this Court will bother to read them.            The

17    attached statements demonstrate the extreme harm this crime visits on

18    its elderly and otherwise vulnerable victims.          Excerpts of the

19    statements are as follows:

20          The daughter of victim Marie writes:

21               She past away in Nov. 2008, but I can tell you very
            simply how this case affected my mother, the scam took away
22          her pride, her will to live, and her dignity, as well as
            her money. It is my hope, these people are sentence to the
23          full extent of the law for what they did.

24          The daughter of victim Edith writes:

25          Due to these people my mother died in a county home with
            nothing left to her name. I am not looking for anything in
26          the way of restitution, just want you to do what you can
            for the remaining parties still out there that have been
27          taken for their life saving.

28

                                              7
     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 12 of 23 Page ID #:3858



 1          From victim Marilena:

 2               I am writing as a victim of fraud that happen with me
            little over 12 years ago when at that time I was pregnant
 3          with my No. 8 child. It was a horoble experience what I
            have to go true and all the suffering I had to go true.
 4          Almost all the money were my children’s savings. My
            husband work very hard for each and every penny to suport
 5          the family. What this individual put me and my family true
            its very hard to describe your honor. So many hardships
 6          and nights with out rest. I am blessed, nothing happen
            with my pragnancy at the time and my baby.
 7

 8          The daughter of victim Sidney writes:

 9          My father is illiterate, so he has ask me to follow up on
            the letter he received concerning the Western Union scam.
10
            My late step mother is the one that started sending them
11          money, my father (who was the only one working at that
            time) was not made aware of this until after she had sent
12          them thousands of dollars. My step mother pasted away a
            few years ago and when I went to help him pick out a casket
13          and make arrangements, he told me then that he was broke.
            He explained why and I was so upset that I had to leave the
14          funeral home. I was devastated to hear that after working
            all these years his savings was lost to a man that promised
15          them all this money and in return they got nothing. My
            father only had a 4th grade education and worked hard to
16          save up money for his retirement. How could anyone prey on
            the elderly?
17
            This scam has cost my father a lot on heartache. He is 79
18          years old and doesn’t have the money to buy food after he
            pays his bills. The money that was set aside for his
19          retirement was used up sending these people money thinking
            that it would come back to them but needless to say, that
20          money was never received.

21          At this time, I am pleading that these people be prosecuted
            to the fullest extent of the law. My father has nothing at
22          all because of this scam and my poor late stepmother has no
            grave marker and her funeral expenses are being paid in
23          small monthly payments.

24          These people have taken away from him the life that he
            expected to have after retirement. I have had to step in
25          and help with mortgage payments, food, utilities and
            medication.
26
            This is totally unfair and these people deserve to be
27          punished. I hope they suffer like my father is suffering
            now.
28

                                              8
     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 13 of 23 Page ID #:3859



 1          The daughters of victim John write:

 2          We are writing to share with you the tremendous impact this
            scam had on our late father, John . . . and continues to
 3          have on our lives to this day.

 4          This horrible scam had many far reaching victims. First
            and foremost it affected our father . . . mentally,
 5          physically and emotionally. But it also affected the rest
            of his family. He was so drawn in and believing of all the
 6          lies he was told by these people that he went as far as to
            try to get our mother to sign a check to send them while
 7          she was being treated in the emergency room. We had to
            have him barred from her room. At one point, one of his
 8          grandsons took him to the SBI so they could talk to him in
            hopes of convincing him he was involved in a terrible hoax.
 9          He began to question himself and his sanity. At one point,
            we ended up having to put him in a mental hospital. We
10          also had to go to an attorney to become Power of Attorney
            over all his affairs to stop him from sending any more
11          money to these horrible people. We had to refinance his
            home in order to cover the loans he had taken out so that
12          he could send them more money. We are still paying these
            loans off to this day and unless we receive some money back
13          from the courts, in all likely hood, our children (his
            grandchildren) will be burdened with continuing to pay off
14          these loans.

15          The worst part of all of this was       it took away several good
            years from his life. It affected        his health greatly and
16          caused him to not trust any of us       or believe anything we
            told him. He became non-trusting        of everyone.
17
            This should never have happened. Our father was a sweet,
18          kind, gentle man who should have been able to live out his
            final years in peace and comfort. Instead, his final years
19          were filled with conflict, worry and despair. He was
            robbed of a great deal of money. But not only were we
20          robbed of the money, we were also robbed of being able to
            spedn his final years with him peacefully. Instead theyw
21          ere filled with worry and panic over what we were going to
            do to recover the money he had lost. We also had to worry
22          about how we were going to be able to afford to take care
            of him and our mother during their final years.
23
            But sadly, in the end, even if we recover all the money
24          that was stolen from him, we can never bring back our
            fathers’ final years and we can never give him the peace he
25          so rightly deserved. It was all taken away by these
            horrible people who never for a moment considered their
26          victims or what they were doing to him. They were only
            interested in what they could get as a result of their
27          lying, stealing and destroying other people’s lives.

28

                                              9
     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 14 of 23 Page ID #:3860



 1          We hope they will be sentenced as harshly as possible to to
            the full extent of the law. We also hope they will spend
 2          their years as miserable as they have made so many others
            . . . including our father. But even this will never be
 3          enough to repay all the havoc they have caused so many
            people. We hope you will lock them up for the rest of their
 4          lives and they will never be free again.
 5          The daughter of victim Betsy writes:

 6          My mother, Betsy, passed away in September 2007 and I am
            the personal representative for her estate.
 7
            My mother had dementia and Alzheimer’s disease. The impact
 8          of being scammed was huge, leaving her thousands of dollars
            in debt and unable to pay her medical bills, fuel bills,
 9          and most of her living expenses. As a result, I am still
            paying off her debts.
10
            She received numerous phone calls and letters encouraging
11          her to send money to collect a big payoff. Because of her
            mental state, she was unable to recognize that she was
12          being scammed. I was unaware until a couple of months
            before her death that she had been giving her money away
13          and not paying her bills.

14          While I hold little hope of ever recovering any of the
            money taken from her, I am hopeful that the defendants will
15          receive a fitting punishment and in any case, be prevented
            from scamming other innocent victims.
16

17          Victim Gary writes:

18          First!! I want to thank you for telling me justice is being
            done to them and the scammers. “There good scammers”! Took
19          me for $12,000 Dollars. I told them is was money from
            loosen my wife, “she die” and its was for my little girl
20          “They didn’t care.”

21          Victim Nancy writes:

22          It brings happiness to my heart that something has been
            done in regards to this case. Almost 10 years ago, my life
23          changed drastically when my ex-husband and I heard we lost
            an enormous amount of money to an unknown source. At the
24          time, I couldn’t believe what I had heard and the
            devastation it caused for my family. As I looked into my
25          children’s eyes (they were so little at the time), I could
            not fathom the fact that they may not have food to eat
26          tomorrow.

27          This event was very stressful to my family and I. The pain
            and suffering it has caused for us, has left us with scars
28          for life. After receiving this letter, I couldn’t help but

                                             10
     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 15 of 23 Page ID #:3861



 1          rejoice with my family about the justice it has brought for
            the other victims.
 2

 3          The daughter of victim Richard writes:

 4          My dad, Richard [], passed away in 2009, my mother in 2013.
            My sister and I were devastated at the thought of our dad
 5          being scammed. It made it hard for us to take care of our
            mom! These people should be sent away for life. All they
 6          do is cause grief for the innocent families. My dad was
            always a smart man, until he got “Althimors.” That’s when
 7          they took advantage of him!

 8          Victim John writes:

 9               My wife had just been diagnosed with dementia and when
            I got the call that I had won a good some of money in a
10          lottery I thought it would help a lot with doctor bills and
            medication.
11
                 Needless to say I was very angry when I got the last
12          call that I didn’t get any money.

13               I was wanting to make her life as better for her as I
            possibly could. I lost in 2006. We would have been
14          married 53 years if she had lived til December. . . .

15          Victim Beatrice writes:

16               We had just been through a very difficult time. We
            were farmers in Monterey County, Ind. and had been all our
17          lives. We lost 640 acres due to the economy for farmers at
            that time.
18
                 We moved to Indianapolis thinking it would be a better
19          place for Norman, my husband, and me to find employment.

20               I received a call from a man that told me he would
            give us some money. We had to come up with so much money _
21          send it to an address he gave me. He made me feel like it
            was stupid not to accept the offer. . . .
22
                  When I think about now, it doesn’t make sence!
23
                  I pray you can stop this nonsense.
24

25          Victim Joan writes:

26               I had names, phone numbers, and citys where I sent
            money. But being ashamed that I was so dumb I burnt all of
27          them so my family wouldn’t know I was so dumb.

28

                                             11
     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 16 of 23 Page ID #:3862



 1                The impact it had on me I have struggled finacly ever
            since. So I truly hope some of the people get there money
 2          back.

 3                Thank you for getting some of these guys.

 4          The sister of victim Danny writes:

 5          During this time of this scam, Danny was threatened by
            phone calls at his home, as well as His place of
 6          employment. The caller would state, “I will kill you and
            your Family if you don’t do as I say, I know where to find
 7          you.”

 8          Danny became frightened and was afraid to go outside, he
            had anxiety attacks while leaving his home for work. When
 9          he returned home from work each day, he would leave all his
            drapes pulled closed, he would not open any windows, he
10          would not answer the phones, and had not opened his mail
            for the past four years or so. Danny isolated himself to
11          his bedroom and became depressed. After about 6 months or
            so, Danny finally had a mild heart attack.
12
            I had to move Danny into my home, He still has Heart
13          problems and has had two other episodes. He has to be
            monitored every day. He still will not leave the House
14          because he is scared to be around people. He stresses
            knowing that my husband and myself put out $5,000 to pay
15          the Bank back and all the expenses which occured because of
            this. I also had to quit my job to take care of Danny.
16          This has impacted several family members.

17          I am glad to see these people were caught and I hope they
            are punished to the max. Danny will enver be the same, and
18          I feel our family has been through so much since this
            incident has happened.
19

20          The son of victim Bernard writes:

21          . . . One day, I noticed that my father (age 83 at the
            time) was getting multiple phone calls during the day after
22          which he would say he “had to run an errand” and then he’d
            leave for about an hour or so and then return. . . .
23          Anyway, I was standing in the kitchen one morning and the
            phone rings and . . . I must sound a lot like my Dad on the
24          phone because when I picked it up and said “Hello”, some
            guy on the other end starts in on me with “Doc, I haven’t
25          received that wire yet for the transfer fee and until I do
            I can’t send you your money. I need you to send that
26          $1,500 as soon as possible so I can send your money. Can
            you send that money in today . . . ?
27
            Needless to say, as soon as I asked “who is this?” - he
28          hung up. As I was hanging up the phone, the phone cord

                                             12
     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 17 of 23 Page ID #:3863



 1          brushed a rolled up set of papers off of the desk that my
            father had in one corner of the kitchen and they spilled
 2          all over the kitchen floor. . . . I added all of them up
            and it totaled almost $48,000 in wire transfers that my Dad
 3          had sent to an address in Canada. . . . Obviously, my
            father had been taken.
 4
            . . .
 5
            Subsequent to all of this, I found out that my Dad had been
 6          paying for these wire transfers by cashing stock in his
            retirement account, taking cash advances on his credit
 7          card, writing personal checks, etc.

 8          The worst part of this story is that it made me realize
            that my father had developed the early stages of
 9          dementia/alzheimer’s. . . .

10          In summary, I hope these guys burn in hell for what they
            did to my Dad. They feasted on him like a pack of hyenas,
11          knowing that they had an elderly person on the other end of
            the line and they didn’t give a damn what their actions did
12          to him -- and my Mom. . . .

13          Finally, I would ask the judge to consider how he/she would
            feel if the same thing happened to their Dad - and then
14          sentence them accordingly.

15          Victim Helga writes:

16               . . . I was a victim of a SCAM, shortly after
            emigrating legally to the United States of America in 1999.
17          . . . The immigration process taught me that dedication in
            pursuing what one believes in, is the only way to conquer
18          adversity and succeed.

19               My husband was attacked by a gang of criminals at an
            ATM at a bank in Pretoria, South Africa in 1993. Having
20          suffered a massive brain hemorrhage due to a blow to the
            head in the attack, and paralyzed on the left side, he then
21          became dependent on me for all aspects of daily living. As
            a professor he had planned to write more books after
22          retiring early as Dean of Faculty of Arts at . . .
            University of South Africa. His brain injury prevented any
23          useful academic work of this Oxford scholar. . . . I
            became his fulltime caregiver in addition to being a
24          Registered [Dietician] in South Africa.

25               I mention this that you may understand why I trusted
            everybody in America, and sadly became a victim of some
26          SCAMS as getting our money out of South Africa was
            difficult. We were debt free, lived very carefully and had
27          planned to travel after having worked very hard our whole
            life. . . .
28

                                             13
     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 18 of 23 Page ID #:3864



 1               As no position for a RD was available . . . I took any
            job which was available, from clerical work in Fallon
 2          Travel, selling pharmaceuticals, planning a commercial
            kitchen and being Food Manager and doing catering at Lattin
 3          Farms and giving talks on Nutrition for Adult Education as
            well as private daycare caregiving in my home.
 4
                 . . . Due to the deteriorating health of my husband I
 5          had to leave Banner Churchill Community Hospital in 2009 to
            take 24/7 care of him until his death in 2011.
 6
                 I had received a letter in the mail stating that I had
 7          won a lottery and I was gullible and naïve and believed
            that in America, only good things can happen to us. I
 8          spent several thousand dollars to be able to get this
            money. I cannot recall the exact amount as everything was
 9          very overwhelming to start a new life, leaving our birth
            country and all we had worked for all our life behind at a
10          great financial loss. My husband was not able to make any
            decisions due to the brain injury and I had the
11          responsibility to make us survive.

12
                    That is why I fell into this SCAM trap.
13
            . . .
14
                 Thank you so much for contacting me, as you can see
15          that my circumstances are not easy. I am now 78 years old
            and I am dependent on a widow’s pension from SA which
16          varies due to the exchange rate of the dollar and the South
            African Rand. It is only worth about 10 cents in the
17          Dollar, so varies between $900 and $1,090 per month. I
            receive $310 Social Security per month and have earned
18          Medicare. I do a parttime job on my computer from home and
            try to do some Nutrition Consulting for some income.
19
                 I would be very thankful if justice could be done to
20          all the victims of this horrible fraud on innocent, honest,
            people.
21

22          Janet writes that an elderly neighbor, victim Davy-Jo, who had

23    no close family or friends to assist her, informed Janet that $60,000

24    was missing from her bank account.          It transpired that Davy-Jo had

25    named Janet her DPOA and Trustee.        Janet learned that Davy-Jo had

26    been defrauded out of thousands of dollars in addition to the $60,000

27    through many different scams.       Davy-Jo was clearly suffering from

28    dementia, as she could recall none of this.          Janet continues:

                                             14
     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 19 of 23 Page ID #:3865



 1                For a woman, living with dementia, not even 77 years
            old, the loss of the almost $100,000.00 was devastating.
 2          These defendants being sentenced now could easily tell she
            was not capable of making financial decisions, and not only
 3          took advantage of that fact, but sold her name and
            telephone number to others. At one point after a long and
 4          contentious telephone conversation with a reader service
            call employee, he said “Lady, I’m just trying to make a
 5          buck. If she doesn’t have anybody looking after her, it’s
            not our fault. There are a hundred guys just like me
 6          sitting in this huge warehouse, and we trade names and
            numbers like cigarettes.” I was horrified at how many
 7          other people just like [Davy-Jo] were likely being duped as
            well.
 8
                 [Davy-Jo] died May 11 of this year. The only good
 9          thing is that her disease kept her from remembering how
            terribly she had been treated and how devastating a loss
10          she had suffered. . . . These criminals have no morals,
            they have no compassion or scruples, and my prayer daily is
11          that they will receive adequate punishment to discourage
            others who take advantage of elderly, ill and vulnerable
12          adults. . . . I don’t believe there is any punishment too
            severe for such callous and unfeeling scammers.
13
            . . .
14
                 I only ask that you consider the negative impact these
15          defendants have had on their victims and impose penalties
            commensurate with their crimes.
16

17          In a declaration filed in connection with the sentencing of John

18    Bellini, Special Agent Nora Collas of the FBI related speaking with

19    the son of a victim with the initials B.B., who was born in 1926.

20    Her son found out that she was being repeatedly victimized by scam

21    telemarketers when her bank called him and told him she was trying to

22    cash her certificate of deposit, after withdrawing large amounts of

23    money by writing checks to cash.        B.B.’s son learned from his mother

24    that she had been told she had won a lottery and that she sent the

25    money to obtain her winnings.       She never did receive what she had

26    been promised.     B.B. passed away from heart failure and B.B.’s son

27    opines that her realization that she had been scammed contributed to

28    her death.

                                             15
     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 20 of 23 Page ID #:3866



 1          This Court has continuously varied downward for the defendants

 2    who caused this harm to their victims.         In fact, the conduct is

 3    listed as being in the category of consideration for an upward

 4    departure.    Note 20(A)(ii) to guidelines section 2B1.1 provides, as

 5    an example of a case “in which the offense level determined under

 6    this guideline substantially understates the seriousness of the

 7    offense” and therefore “an upward departure may be warranted”:

 8          The offense caused or risked substantial non-monetary harm.
            For example, the offense caused physical harm,
 9          psychological harm, or severe emotional trauma . . . .

10          The government is not asking this Court to depart or vary upward

11    from the applicable guidelines range.         Rather, the government is

12    reacting to the statements of the probation officer in paragraph 103,

13    apparently feeling very sorry for defendant without considering the

14    extreme emotion, physical, and financial pain defendant personally

15    caused to countless mostly elderly victims from whom she heartlessly

16    stole money.    The government does not understand why this Court

17    should consider defendant’s “several physical and emotional

18    challenges, including her mental health (including depression and

19    anxiety and a suicide attempt) . . . and her physical health

20    (including high blood pressure, and speech delay and vision problems

21    as a result of a stroke in 2013)” without considering that defendant

22    herself caused numerous innocent victims to suffer physical and

23    emotional consequences, including contributing to the early death of

24    some victims, according to their loved ones.          Somebody in this

25    equation has to care about the victims of the crime, and that someone

26    is the undersigned prosecutor.

27          All of this being said, the government does believe that

28    defendant and co-defendant Grundy are on the lesser side of

                                             16
     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 21 of 23 Page ID #:3867



 1    culpability, compared to egregious offenders such as Van Wade

 2    Bedford, Kevin Power, John Power, Jeffrey Jacobson, Kenneth Goucher,

 3    and Jeremiah Mosher, not to mention John Bellini.

 4          B.    “(2) the need for the sentence imposed
 5                1.     “(A) to reflect the seriousness of the offense, to
                         promote respect for the law, and to provide just
 6                       punishment for the offense.”

 7          The government believes that a sentence of 60 months is

 8    necessary to reflect the seriousness of this offense, as well as to

 9    promote respect for the law.       The government believes a longer

10    sentence is not necessary to provide just punishment for the offense,

11    given the age of the conduct.

12                2.     “(B) to afford adequate deterrence to criminal
                         conduct.”
13
            The government believes that 60 months incarceration will deter
14
      defendant from ever engaging in this type of conduct again, and also
15
      provides general deterrence to others.
16
                  3.     “(C) to protect the public from further crimes of the
17                       defendant.”

18          The government believes that, given defendant’s crime, balanced

19    against the passage of time, defendant poses some danger to the

20    public, as she is well versed in the ways of the scammer.            As a

21    further consideration, unlike in the “mine run” of cases, defendant

22    will not be on supervision following her release from custody, as she

23    will be deported.     Thus, she will be under no conditions designed to

24    protect the public, and there will be no way to monitor her

25    activities.      The probation officer apparently believes, with no

26    reasoning whatsoever, that “the likelihood or recidivism and the risk

27    to the community appear to be very low in this case” (PSR ¶ 103), and

28    one can only hope she is correct, given that defendant committed this

                                             17
     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 22 of 23 Page ID #:3868



 1    egregious fraud for over five years, only stopping when she was

 2    arrested, and that there will be no supervision of her conduct once

 3    she is released from custody.

 4          Defendant urges this Court to consider defendant’s deportation

 5    as a mitigating factor.      However, defendant is not American, she is

 6    Canadian, and thus her inability to enter the United States in the

 7    future does not appear to pose her any inconvenience.           Rather,

 8    defendant will be returned to where she wants to go, and the minute

 9    she sets foot there, will be under no supervision whatsoever.

10                4.   “(6) the need to avoid unwarranted sentence
                       disparities among defendants with similar records who
11                     have been found guilty of similar conduct.”

12          Following a guidelines sentence avoids disparity between

13    similarly situated defendants.       United States v. Green, 592 F.3d

14    1057, 1072 (9th Cir. 2010) (sentencing guidelines exist to create

15    national uniformity of sentencing); quoting United States v.

16    Becerril-Lopez, 541 F.3d 881, 895 (9th Cir. 2008) (“[W]e have trouble

17    imagining why a sentence within the Guidelines range would create a

18    disparity, since it represents the sentence that most similarly

19    situated defendants are likely to receive”).

20          The government understands that this Court has varied downward

21    for three highly contemptible and similarly placed defendants -- one

22    of whom laughed at the senility of his victims and encouraged elderly

23    victims to take out loans to send him more money, two of whom worked

24    for other of John Bellini’s fraudulent ventures prior to working the

25    lottery scam, and one of whom had a vast, multimillion dollar

26    fraudulent Western Union operation that aided countless crooks in the

27    Montreal area.     No doubt this Court will take no more seriously the

28    conduct of this defendant.

                                             18
     Case 2:07-cr-01402-SJO Document 465 Filed 07/13/15 Page 23 of 23 Page ID #:3869



 1                5.     “(7) the need to provide restitution to any victims of
                         the offense.”
 2

 3          Given that defendant will be deported when released from

 4    custody, the government doubts that she will ever voluntarily pay

 5    restitution.

 6          As demonstrated by the discussion above, the factors pursuant to

 7    18 U.S.C. § 3553(a) demonstrate that a low-end sentence of 60 months

 8    is appropriate.

 9    V.    CONCLUSION
10          For the foregoing reasons, the government asks this court to

11    sentence defendant to a term of incarceration of 60 months, based on

12    an offense level of 27, a criminal history score of I, and a

13    guidelines range of 60 months.

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                             19
